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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA

                                          Norfolk Division

 NATHANIEL POWELL                                  )
                                                   )
                Petitioner,                        )
                                                   )
                v.                                 )           Criminal No. 2:16-CR-97-02
                                                   )
 UNITED STATES OF AMERICA,                         )
                                                   )
                Respondent.                        )

           GOVERNMENT’S SUR-REPLY TO PETITIONER’S MOTION
     TO VACATE, SET ASIDE, OR CORRECT SENTENCE UNDER 28 U.S.C. § 2255

        The United States of America, by and through its undersigned counsel, respectfully submits

 this sur-reply memorandum addressing a new argument raised in Petitioner’s Reply to

 Government’s Supplemental Response to Petitioner’s Motion to Vacate, Set Aside or Correct

 Sentence Under 28 U.S.C. § 2255. ECF No. 198. For the reasons stated below, the new argument

 raised in the Reply is not an accurate statement and is premised on facts materially different than

 those present here.

                                           ARGUMENT

        In the Motion, Petitioner argued that he directed his former counsel to appeal. In support

 of that factual contention—which his former counsel denies—he provided a sworn affidavit about

 a visit he had with counsel following his sentencing. ECF No. 186-2 at 2. As the government

 demonstrated in its response brief, that sworn affidavit is factually incorrect. ECF No. 197 at 3. In

 his Reply, Petitioner raised a new legal argument: that his “expressed dissatisfaction” was

 sufficient to require counsel to note an appeal pursuant to Frazer v. South Carolina, 430 F.3d 696

 (4th Cir. 2005). Reply at 3, 8.
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        A. Petitioner’s Argument Does Not Accurately Reflect the Holding in Frazer v. South
           Carolina.

        Frazer does not hold that an “expressed dissatisfaction” with a sentence is deemed a

 request to appeal. Instead, it holds, consistent with the Supreme Court’s decision in Flores-Ortega,

 that “when there are non-frivolous issues to appeal or the defendant has manifested an interest in

 appealing, Strickland requires that counsel consult with the defendant in deciding whether to go

 forward.” Frazer, 430 F.3d at 708 (emphasis added); see Roe v. Flores-Ortega, 528 U.S. 470, 478-

 79 (2000). This is precisely what former counsel did in Petitioner’s case. His affidavit makes clear

 that “[a]t no time after the plea did Mr. Powell indicate any desire to appeal. I consulted with Mr.

 Powell about the right to file a Notice of Appeal.” ECF No. 197-1; see also ECF Nos. 198-1, 198-

 4.

        The defendant in Frazer pleaded guilty to possessing a firearm during the commission of

 a crime of violence and to possessing a controlled substance with intent to distribute. Frazer, 430

 F.3d at 701. The court impermissibly sentenced the defendant to a fine that exceeded the statutory

 maximum and imposed two five-year sentences to run consecutively instead of concurrently—to

 the surprise of the government and the defendant, who immediately expressed his discontent. Id.

 at 701-702. Despite a prior assurance from Frazer’s defense counsel to “file the necessary

 paperwork” if something went wrong at sentencing, Frazer’s counsel’s only effort was to raise an

 informal oral motion for reconsideration, which the court denied. Crucially, “at no time either

 before or after the denial of the motion for reconsideration did [defense counsel] ascertain whether

 Frazer wished to appeal.”. Id. at 702. The district court noted:

        The undisputed evidence shows that immediately after sentencing, Frazer and
        [defense counsel] agreed that [defense counsel] would seek review of the sentence.
        [Defense counsel] assured Frazer that he “would file the necessary paperwork” to
        have the sentence modified, and Frazer did not hear from [defense counsel] again
        until Frazer contacted him about the status of his appeal.


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 Id. at 702-03.

        The Court in Frazer explained that a three-step inquiry is required when confronted with a

 claim that counsel rendered ineffective assistance by failing to consult with the defendant

 regarding an appeal. Id. at 707-708. First, the threshold determination is whether the defendant

 independently decided whether to appeal and communicated that decision to counsel. Id. at 707.

 In Petitioner’s case that is a fact in dispute. Mr. Woodward denies that Petitioner instructed him to

 appeal. Had Petitioner communicated his intent to appeal, Mr. Woodward is clear he would have

 moved the Court to dismiss him from representing Petitioner—an action that was never taken,

 suggesting that Petitioner never made such a request.

        Next, if the defendant has not specifically requested an appeal, counsel has a professional

 obligation to “consult” with the defendant regarding the decision to appeal, unless the

 circumstances demonstrate that consultation is unnecessary. Id.; Flores-Ortega, 528 U.S. at 478-

 79. In Petitioner’s case, it is undisputed that counsel consulted with Petitioner about his rights to

 appeal on April 5, 2017, following the March 31 sentencing hearing. ECF No. 198-1. In fact, notes

 of their meeting were presented in Petitioner’s Response. ECF No. 198-4. Third, if counsel failed

 to consult, which is not the case for the Petitioner, the defendant may demonstrate prejudice by

 showing that a rational defendant would want to appeal. Frazer, 430 F.3d at 708. This can be done

 by showing that there were non-frivolous issues for appeal or that defendant adequately indicated

 his interest in appealing. Id. Here, the defendant’s plea agreement affirmatively waived his right

 to appeal his conviction and sentence. Even if the Court reached this third question—which it does

 not need to on the plain facts of this case—any appeal of the defendant’s sentence, which was

 within the statutory maximum, would have been frivolous in light of the explicit waiver to which

 the defendant agreed.


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        B. The Facts in Frazer v. South Carolina are Distinguishable from Petitioner’s Case.

        Defense Counsel in Frazer never discussed the possibility of appealing. Id. In the instant

 case, Mr. Woodward consulted with Petitioner on April 5, 2017, five days after Petitioner was

 sentenced, about whether to file a Notice of Appeal. ECF Nos. 197-1, 198-1, 198-4. Here, “at no

 time after the plea did Mr. Powell indicate any desire to appeal.” ECF No. 197-1.

        Two other significant facts distinguish Frazer from this case: 1) the non-frivolous issue of

 an excessive fine that exceeded the statutory limit; and 2) the trial court’s decision to run sentences

 consecutively instead of concurrently, against the expectations of both defense counsel and the

 government. 1 The defendant in Frazer “indicated his unhappiness with his consecutive sentences

 and asked [his counsel] to see about ‘having [them] run together.’” Frazer, 430 F.3d at 712. Here,

 Petitioner seems to suggest that his general “expressed dissatisfaction” with the sentence would

 somehow automatically trigger his counsel’s obligation to file an appeal. ECF No. 198 at 8. That

 is not the holding of Frazer and not the law in this Court. The Fourth Circuit found that the

 defendant’s “interest in an appeal was unwavering and ongoing” and that he demonstrated “an

 intent to pursue [an appeal] at all costs.” Frazer, 430 F.3d at 712. The record in Petitioner’s case

 is not comparable by any stretch.

        Frazer requires counsel to consult with Petitioner, which is what happened in this case.

 Former counsel thus fulfilled his constitutional duty to his client, and the Court should dismiss

 Petitioner’s claim that counsel was ineffective.



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   “The trial court’s decision to impose consecutive sentences took both parties by surprise, and
 Frazer’s sentencing took place just one day after ‘a heated [pre-trial] hearing’ in which ‘thing[s]
 really kind of went [s]outh.’ J.A. 183-84. Describing this hearing as ‘brutal,’ [defense counsel]
 noted that ‘any adverse ruling we could have had’ from the judge that sentenced Frazer the
 following day, ‘we got.’ Under these circumstances, we are not persuaded that an assertion by
 Frazer that his sentence was ‘the result of partiality [or] prejudice’ would be frivolous.” Frazer,
 430 F.3d at 711-12.

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                                      CONCLUSION

        For the reasons stated above and in the government’s response brief, ECF No. 197, the

 Motion should be denied.

                                           Respectfully submitted,

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                                   CERTIFICATE OF SERVICE

        I hereby certify that on the 14th day of April, 2020, I electronically filed the foregoing

 with the Clerk of Court using the CM/ECF system, which will then send a notification of such

 filing (NEF) to:

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        I HEREBY CERTIFY that on this 14th day of April, 2020, I mailed a true and correct copy

 of the foregoing to the following non-filing user:

                               Nathaniel Powell
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